
237 Md. 637 (1965)
206 A.2d 707
MUMFORD
v.
DIRECTOR OF PATUXENT INSTITUTION
[App. No. 99, September Term, 1964.]
Court of Appeals of Maryland.
Decided February 4, 1965.
Before PRESCOTT, C.J., and HAMMOND, HORNEY, MARBURY, SYBERT, OPPENHEIMER and BARNES, JJ.
PER CURIAM:
Aside from the fact that the application does not comply with Maryland Rule BK46 b requiring a brief statement of the reasons why the order of the lower court denying post conviction relief should be reversed, this application for leave to appeal is hereby denied for the reasons suggested in Sewell v. Warden, 235 Md. 615, on which Judge Harris relied in ruling that "a petitioner does not have a valid basis for relief in a second post conviction petition when no [leave to appeal was sought] from a dismissal of the first petition raising the same contentions; and when no new grounds, which could [not] reasonably have been asserted in the prior proceedings, are presented."
Application denied.
